317 F.2d 364
    CONSOLIDATED FREIGHTWAYS, INC.v.Charles MURPHY.
    No. 17262.
    United States Court of Appeals Eighth Circuit.
    May 6, 1963.
    
      Appeal from U. S. District Court, Western District of Missouri.
      Joseph J. Kelly, Jr., Richard H. Spencer, Don. W. Giffin, Kansas City, Mo., and William J. Hickey, Washington, D. C., for appellant.
      Margolin &amp; Kirwan, Kansas City, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed on Request of appellant.
    
    